Case: 1:18-Cv-06819 Document #: 1-1 Filed: 10/10/18 Page 1 of 16 Page|D #:4
Kane County Circuit Court THOMAS |\/\. HARTWELL ACCEPTED: 8/31/2018 2154 Pl\/| By: BG Env #2054616

 

 

 

 

 

 

16th JUDICIAL CIRCUIT
NEW cAsE INFQRMATIGN sHEET 18_L_000468
Case No.
Cl,eri\: of the Circuii Com't
}ii'.:me County, I§Eirmis
Har'vest Bible Chapel Evangelical Christian Credit Union
8/3‘\/201 8 2:11 Pl\/l
FILEDFHMAGED
PlaintifY/Petitioner Defendant/Respondent File Stamp

 

 

 

 

 

All Parties must be listed on new case filing sheet, or on an attached sheet following the same format as below.
(PLEASE TYPE OR PRINT)

l. Case Type L 2. Sub Case Type 0106 3. Claim Amount 2 § §§ 2§¢@!“"‘4. .lu‘ry Y‘BS
(See page 2 for codes) (See page 2 for codes) (-ycs/I\o)

5. Return date/time (Where return date summons is used):

6. Plaintiff Attomey's ARDC number: 6216623

Attorney's Name; Nudo, Christopher S.
(Last, First, Ml)

7 . First named Plaintiff: Hal'VeSf Bible-Chap€l
Address; 1000 N. Ralldall Rd.

 

 

 

 

 

 

 

 

City: ;E_lgi¥l State/Zip Code: IL 60123 Phone #: +1 (847) 398~7005
8. Additional Plaintiff/AKA/DBA/FKA/NKA/Other:

Address:

City: State/Zip Code: Phone #:
9. Additional Plaintiff/AKA/DBA/FKA/NKA/Other:

Address:

City: State/Zip Code: Phone #:

 

 

10. First named l)efendant; Evang_elical Christian Credit Union
Address; 955 W€Sf Imperial HWy., Sfe 100

 

 

 

 

 

 

 

City: Brea State/Zip Code: CA 92821 Phone #: +l (714) 571'5700
11. Additional Defendant/AKA/DBA/FKA/NKA/Other:

Address:

City: State/Zip Code: `Phone #:
12. Additional Defendant/AKA/DBA/FKA/NKA/Other:

Address:

City: State/Zip Code: Phone #:

 

EXH\B|T

Pi-CI~OOl (12/14)

 

 

 

 

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* Case Type Codes are: L, AR, LM, SC, TX, ED, MR, CH, AD, F, OP, D, J, JA, MH and MC
* Sub Case Type Codes are listed under each below.

Law (L) (350,000 & over)

0101 Tort $ damages-auto-prop

0102 Tort $ damages-automer & pers inj
0103 '1`011 $ damages-auto~pers inj

0104 Tort $ damages-nu!dpers inj & death
0105 Ton $ damages-amo-death

0106 Tort $ damages~other

0107 Contract $ damages

0108 Confession of Judgement

0109 Forcible Entry-Decainer possess & $
0110 Forcible Entry-Decainer possession only
0111 DisUess for Rent

01 12 Stat Act recover suppt or contrib
0113 Arbitration and Award

0114 Detinue

0115 Ejectment

0116 Replevin

01 17 Trover

0118 Malpractice-medical

0119 Malpractice»lega]

0120 Malpractice-other

0121 Alienation ofAffection

0122 Class Action Suit

0123 Registration of Foreign ludgment
0125 Forcible/Tenant Foreclosure

0130 Other (specify)

Arbirmion (AR) (10,00110 50,000)

*Adm Arb Jud Review - see MR

1501 Tort $ damages-auto-prop _ k
1502 Tort $ damages-auto-prop & pers mj
1503 Tort $ da.mages~auto~pers inj

1504 Tort $ damages-auto-pers inj & death
1505 Tort $ damages~auto-death

1506 Tort $ damages'other

1507 Comract $ Damages

1512 Stat AcUrecover suppt or contrib
1513 Arbitmtion and Award

15 1 8 Malpractice-medical

1519 Malpractice-legal

1520 Malpractice~other

1521 Alienation of affection

1522 Class Action Suit

1531 Oiher (specify)

Law Medium (LM) (0 to 50,000)

0208 Confession of J udgment

0210 l-`orcible Entry-Detain poss & $
0211 Distress for Rent

0214 Detinue

0215 Ejeclment

0216 Replevin

0217 Trover

0223 Registration of Foreign Judgment
0224 Forcible Enrxy-Detainer poss only
0225 Forcib]e/I`ena.nt Foreclosure
0230 Other (specify)

Small Claims (SC) (up to 10,000)

0301 Conu'act-money~damages

0302 Tort-money damages~auto

0303 Tort-money damages-other

0304 Collection of taxes

0305 Registration of Foreign Judgment
0330 Other (specif`y)

Tax (TX)

0401 Recover Delin Pers Prop Tax
0402 Retailers Occupation Tax
0403 Petition for Tax Refund
0404 Tax Poreclosure

0405 Tax lnjunction

0406 Annual Tax Sale

0407 Scavenger Tax Sale

0408 Tax Objection

0409 Tax Commission (review of decision)
0410 Drainage Assessmt

0411 Special Assessmt

Pi.cI-ooi (12/14)

Tax (TX) (cont.)

0412 Foreclosure Lien Spec Assessmt
0413 Suit Restrain Collect Spec Assessmt
0414 Tax Deed

0415 Petition for Recovery

0416 Registration of Foreign J udgment
0417 Sale in Error

0430 Other (specify)

Emlnent Domain (ED)

0501 Condemnation
0530 Other (specify)

Miscellaneous Remedies (MR)

0601 Jud Review ofAdm A cy (includes
Arbilrasion.but not mg

0602 Jud Review of Workers Comp

0603 Jud Review of Unemployment

0604 Decla:atory Judgment

0605 Corporation Disso1ution

0606 Change of Name

0607 Habeas Corpus

0608 Mandamus

0609 Prohibition

0610 Quo Warranto

0611 Attachment/original action for

0612 Ne Exeat/original action for

0613 Escheat

06]4 Lost Goods or Money

0615 Bumt Records

0616 Election Contest

0617 Discovery

0618 Search Waxrant

0619 Civil Forfeitures

0619 Seizure Warrant

0621 Registration of Fictitious Record

0622 Sex Ti'ansmiss Disease Control Act

0623 Contagious/lnfectious Disease

0624 Registration of Foreign Judgment

0625 Pem Issue Foreign Subpoena

0626 Eavesdropping/criminal surveillance

0627 Demolition

0628 Extradition

0629 Rendition

0630 Other (specify)

0631 Sexually Violent Person

0632 Building Code Violation

0633 Statewide Grand Jury Act

0634 Fugitive from Justice

0635 Cornpact Interstate Violation

0636 SAO~Subpoena

0637 Expungement

0638 Juvenile Search Warrant

0639 Pen Registe\'

Chancery (CH)

0701 Injunction (except TX or D cases)

0702 Real Estate Mortgage Foreclosure

0703 Mechanic Lien Foreclosure

0704 Foreclose Sec lnt Personal Property

0705 Partnership Dissolution

0706 Speciflc Perf`ormance

0707 Partition

0710 Construotion of Inter Vivos Trust

0711 Con§u\;ction of Testy Trust
{Pzdssposed)

0712 Trust Administration

0713 Quiet Title

0714 Complaint in Equity

0715 Accounting

0716 Receivership

0717 Rescission of Contract

0718 Creditor‘s Complaint

0719 Uniform gift to Minor Act

0720 Sett`mg Aside a Deed

0721 Foreclose on Condo Assessment

0722 Interpleader

0723 Registration ofForeign Judgment

0730 Other (specify)

Adoption (AD)

0801 Adoption
0817 Adoption-unbom child

Family (F)

0802 Pmative Father

0803 Paiemity

0804 Parent and Child Relationship

0806 Reciprocal Non~S upport

0807 Neglect and Refusal to Support

0808 Civil Action to Compel Support
0809 UIFSA~Incoming

0810 UIFSA-Outgoing

0811 Registration of Foreign Judgment
0818 Conf\dential Intennedia.ry

0823 Non Cust/Admin Suppon

0824 Grandpa.rent Visitation (non~case)
0825 Patemal Notice Minor Abortion Law
0829 Petition for Medical lnsurance Benelits
0830 Other (specify)

0904 Petition for Custody

0905 Petition for Visitation

1005 Emancipation of Minor

1006 Pem for Mam‘age License

Order of Protectiou (OP)

0805 Domestic Violencc Act/Order of Protection
0819 Registration of Foreign Judgment

0822 Civil No Contact Order

0826 Order ofProtection Stalking No Contact

Divorce (D)

0901 Dissolution

0902 mvalidiry

0903 Legal Separation

0906 Simplif'ied Dissolution

0907 Registmtion of Foreign Judgment
0908 Civil Union Dissolution

0930 Other (specify)

Juvenlle (J)

1002 Supervision

1003 Dependency

1007 Addicted Minor

1008 Truancy

1009 Minor Require Authority lntervention
1010 Temporary Guardian

1030 Other (specify)

Juvenile Neglect or Abuse (JA)
1004 Neglect or Abuse
Mental Health (MH)

1101 Petition for Hospitalization

1 102 Peiition for Discha.rge

l 103 Petition for Restoration

l 104 Author Emgcy Med/Dental Treatment
1105 Author Psychotropic Medication

1106 Administrator to Admin Treatment
1130 Other (Specify)

Municipal Corporation (MC)

1301 Pem to O\'ganize municipal corp
1302 Pem to Dissol\€e municipal corp

1303 Pem to /Creaw-Dminagc Dist

1304 Petn to Change of Govemment

1305 Petn to Disconnect From Fire District
1330 Other (specify)

win (wi)
1601 will

 

 

 

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Kane county carouiicoun THoMAs M. HARTWELL AccEPTEo: 8/31/20132;54 PM '. nev c.\v"#zos¢ew
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STATE OF ILLINOIS ) 8/3'1/20'18 211 1 Pl\/|
) Ss
COUNTY 0F KANE ) . . .
ri.r,nnrrnnenn
IN THE CIRCUIT COURT OF THE SIXTEENTH JUDICIAL CIRCUIT
KANE COUNTY, ILLINOIS
HARVEST BIBLE CHAPEL, )
> 1 -L- 0468
Plaintiff, ) CASE NO. 8 00
)
v. )
)

EVANGELICAL CHRISTIAN CREDIT UNION, ) JURY DEMANDED BY
) PLAINTIFF
Defendant. )
VERIFIED ORIGINAL COMllLAINT AT LAW
NOW COMES, the Plaintiff, Harvest Bible Chapel (hereinafter referred to as
“HBC” or “Church”), by and through its attorney, CHRISTOPHER S. NUDO, and
complains of the Defendant, Evangelical Christian Credit Union (“ECCU”), as follows:
NATURE OF THE ACTION
1. HBC borrowed money from ECCU in the form of five (5) loans.
2. The loans were all made between HBC as borrower and ECCU as lender.
3. Beginning in 2017 and continuing well into 2018, ECCU and HBC had been
discussing either refinancing the current loans to a lower interest rate or modifying the
existing loans to lower interest rates.
4. During the time that HBC Was Waiting on ECCU, there Were other lenders Who

presented offers to refinance the loans for HBC. Based upon assurances made by ECCU

and the long and loyal relationship ECCU and HBC had with one another, HBC did not

NOT|CE
BY ORDER OF THE COURT THlS CASE lS HEREBY SET FOR

pursue the °ther Offers' cAsE MANAGEMENT coNFERENcE oN THE DATE BELoW.
FAiLuRE To APPEAR MAY REsuLT lN THE cAsE BElNG
DISMISSED oR AN oRDER oF DEFAuLT BEING ENTERED.
Ju ge: Clancy Boles, Susan
1 15/2018 9:00 Alvl

 

5.

6.

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ln early August 2018, ECCU denied the loan modification and loan retinance.

HBC’s senior officers have phoned and emailed ECCU’s President and CEO, five

times, on August 10, 2018, August 14, 2018, August 21, 2018, August 27, 2018, and

August 30, 2018 in an effort to avoid litigation There has been no responsel

7.

VENUE AND JURISDICTION

This Court has venue and jurisdiction over the above-listed causes of action, Wherein

a substantial part of the events or omissions giving rise to these claims occurred at Harvest

Bible Chapel principal place of business in Elgin, Kane County, lllinois 60123.

8.

ECCU is subject to service of process through its registered agent, Abel Pomar, at

955 West Imperial Hwy, Ste 100, Brea, CA 92821.

9.

The Church that is the primary focus of the litigation has a principal place of business

at 1000 N. Randall Rd, in Elgin, lllinois.

10.

THE PARTIES

Harvest Bible Chapel, a not-for-profit Illinois corporation that is a

nondenominational bible believing church that began in 1988 and maintains seven locations

throughout the Chicago metro area. Harvest Bible Chapel’s main source of revenue is from

charitable contributions made by its members As an Illinois not-for-protit, Which holds a

letter of determination as qualified under IRC 501(0)3, Harvest Bible Chapel is organized

to serve the public and its members and to wisely steward the resources it is entrusted

ll.

Evangelical Christian Credit Union is organized as a domestic not-for~proiit

corporation in the State of California to operate as a Credit Union. lt operates as a depository

institution and it facilitates loans for churches throughout the country, including Illinois.

 

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FACTS COMMON TO ALL ALLEGAT!ONS
12. HBC borrowed money from ECCU in the form of five (5) loans.
13. The loans were all made between HBC as borrower and ECCU as lender.
14. Beginning in 2017 and continuing well into 2018, ECCU and HBC had been
discussing either refinancing the current loans to a lower interest rate or modifying the
existing loans to lower interest rates.
15. Between March 2018 and the end of July 2018, there were extensive discussions
and the exchange of documents between ECCU and HBC in order to accomplish the
refinance or loan modification
16. During the time that HBC Was waiting on ECCU, there were other lenders who
presented offers to refinance the loans f`or HBC. Based upon assurances made by ECCU
and the long and loyal relationship ECCU and HBC had with one another7 HBC did not
pursue the other of`f`ers.
17. ECCU lacked sufficient lending capability in order to fund the entire loan, so
ECCU assembled other investors who had inner creditor agreements with ECCU, in order
to fund the full amount of the loans.
18. Each loan has defined dates in which the interest rate adjusts based upon a
predeiined formula found in the loan documents
19. Between l\/larch 2018 and the end of July 2018, there were extensive discussions
and the exchange of documents between ECCU and HBC in order to accomplish the
refinance or loan modification On many occasions beginning in May 2017 and

continuing frequently, ECCU would represent to HBC that the plan to modify some loans

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and refinance the others was approved and only waiting on full participation from the
investors that were supplementing the full funding for ECCU.

20. These communications included phone calls, emails, text messages and then
ultimately a written conditional loan commitment

21. During the time that HBC Was waiting on ECCU, there were other lenders who
presented offers to refinance the loans for HBC.

22. In l\/lay 2018, during a phone call between Jeff Sharda, CFO of HBC and Michael
Boblit, officer at ECCU, asserted that HBC should not pursue any other lender
relationships because ECCU wanted to retain the loans, and that ECCU would close the
loans on or before luly 31, 2018. HBC relied to its detriment on the assertions and
promises of` ECCU’s employee Michael Boblit.

23. During the month of July 2018, Michael Boblit who Was the designated corporate
officer overseeing the HBC loans was dismissed by ECCU.

24. On or about Monday, August 6, 2018, seven (7) corporate officers, board
members, and staff from ECCU called HBC to inform HBC that they were unwilling to
proceed with the loan modification and loan refinance as ECCU had previously promised
This was in direct conflict with the assurances HBC was given by ECCU on July 20,
2018, that the largest of the loans had full investor participation and Was on schedule to
close by July 31, 2018.

25. On or about July 20, 2018 at on or about 6:20 pm CST, Jason Lietzau an employee
of ECCU in a text message to leff Sharda of HBC stated, “Hi Jejf This is Jason at ECCU
I_just got out of a meeting with the team We r moving to close The Elgin (Bz'g Loan) by 7/31

and possibly Crystal Lake. Niles is close but will probably be next month " 'l`his was one

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of many assurances that HBC relied upon that a loan modification and refinance was going
to be completed in the second quarter of 201 8, but no later than the end of July 2018.

26 . HBC relied upon the verbal and written statements from ECCU, and did not pursue
alternative financing opportunities from other institutions that offered to refinance the loans.
27. Michael Boblit, a senior officer at ECCU, was constantly in communication With
HBC, either by face-to-face meetings, phone, text message and email, and always
communicated that the closing of the loan modifications and refinances was on track.

28. On August 1, 2018, the interest rate on the largest loan reset and HBC is scheduled
to make a loan payment that is nineteen percent (19%) greater than its current loan payment
29. With each delay caused by ECCU, interest rates in the market continued to increase,
making it more and more difficult for HBC to refinance the loans with another lender at an

interest rate that was competitive with the rates HBC is currently paying.

INTENTIONAL INTERFEREN§€%E;VE::[.T'ITII.I PROSPECTI`VE `ECONOMIC
ADVANTAGE
30. Plaintiff realleges and incorporates herein by reference the allegations made in
Paragraphs l -- 29v
31. The State of lllinois recognizes the tort of intentional interference with prospective
economic advantage
32. To state this cause of action, the following must be alleged:

(a) a reasonable expectancy of entering into a valid business relationship;

(b) the defendant’s knowledge of the expectancy;

 

 

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(c) an intentional and unjustified interference by the defendant that induced or
caused a breach or termination of the expectancy; and

(d) damage to the plaintiff resulting from the defendant’s interference
Anderson v. Vanden_ Dorpel, 172 Ill. 2d 399, 406-07, 217 Ill. Dec. 720, 667 N.E.2d 1296
(1996).
la’.
33. There is sufficient expectancy that HBC and ECCU would continue with their
business relationship, since they have been working together since 2006.
34. Over the course of more than a year ECCU persuaded HBC to continue relying
upon ECCU for its depository and loan relationship, despite other options offered to HBC
by other lending institutions».
35. Based upon the emails, text messages, phone calls and Written commitments
presented by ECCU to HBC, HBC lost the opportunity to accept the other borrowing
options to refinance the loans with ECCU.
36. ECCU was aware that they were not going to conclude the loan modifications and
refinance but consistently mislead to HBC in order to sufficiently delay HBC. As a result,
the August l, 2018 deadline arrived and HBC is now being forced to pay a significantly
higher interest rate.
37. As a result of ECCU’s direct interference with these other lending relationships,
HBC is now not able to refinance the loans before August l, 2018.
38. As a result of ECCU’s direct interference with these other lending relationships,
HBC is now not able to refinance the loans at a competitive rate due to the increasing

interest rate market

39. Wherefore the Church is entitled to damages as set forth in the Prayer for Relief`.

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COUNT II
PROMISSORY ESTOPPEL

40. Plaint`lff` realleges and incorporates herein by reference the allegations made in
Paragraphs 1 - 29.

41. The State of lllinois recognizes the doctrine of promissory estoppel as an affirmative
cause of action. This doctrine can be found in Restatement (Second) of Contracts as Section
90.

42. “ § 90, Promise Reasonably lnducing Action or Forbearance

(1) A promise which the promisor should reasonably expect to induce action or
forbearance on the part of the promisee or a third person and which does induce such
action or forbearance is binding if injustice can be avoided only by enforcement of the
promise The remedy granted for breach may be limited as justice requires.”
Restatement (Second) of Contracts § 90(1), at 242 (1981).

Quake C()nstruction, Inc. v. Amerz'can Airlines, Inc., 141 lll.2d 281, 152 Ill.Dec. 308, 565
N.E.Zd 990 (1990).

Id.

43. Over the course of more than a year ECCU promised HBC that ECCU would modify
and refinance the loans to the point where such promise created the sufficient inducement
by ECCU to HBC where a forbearance by HBC to accept other options offered to HBC by
other lending institutions created a promise by ECCU that needs to be upheld.

44. This promise is clearly proven by the many emails, phone calls, text messages and
written commitments presented by ECCU to HBC, in Which HBC lost the opportunity to
accept the other borrowing options to refinance the loans with ECCU.

45. ECCU was aware that they were not going to conclude the loan modifications and
refinance but consistently mislead HBC in order to sufficiently delay HBC so that the
August l, 2018 deadline Would arrive and HBC would be forced to pay a significantly

higher interest rate.

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46. As a result promisor, ECCU, should reasonably expect that it has induced with
emails, phone calls, text messages and written commitments that action or forbearance on
the part of HBC not to take the other borrowing opportunities

47. Wherefore the Church is entitled to damages as set forth in the Prayer for Relief.

COUNT III
NEGLIGENT SUPERVISION

48. Plaintiff realleges and incorporates herein by reference the allegations made in
Paragraphs 1 ~ 29.

49. The State of lllinois recognizes negligent supervision as a cause of action if the
following are established:

(1) the employer had a duty to supervise its employee;

(2) the employer negligently supervised its employee; and

(3) such negligence proximately caused the plaintiffs injuries

Lansing v. SouthwestAirlines Co., 2012 IL App (1 st) 101164

Id.

50. That since 2014, l\/lichael Boblit and other staff members have been the corporate
officers and staff at ECCU responsible for the loans with HBC.

51. That ECCU had a duty to supervise Michael Boblit as an officer of ECCU and the
other staff at ECCU.

52. That ECCU negligently supervised l\/lichael Boblit in his actions, communications,
promises and assertions he made to HBC where he always assured HBC that the refinance

and loan modifications were going to close prior to detrimental interest rate adjustments

for HBC.

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53. That ECCU negligently supervised its employees actions, communications,
promises and assertions made to HBC, related to the assurances and promises made to
HBC regarding the fact that the refinance and loan modifications Were going to close prior
to detrimental interest rate adjustments for HBC.

54. That as a result of ECCU’s negligent supervision of l\/lichael Boblit, and other
employees HBC has been significantly financially harmed and set back in its opportunities
to refinance its loans with other lenders.

55. That as a result of ECCU’s negligent supervision of Michael Boblit, and its
employees, HBC has been significantly banned financially and set back in its opportunity
to refinance the loans at lower interest rates due to the increasing interest rate market

56. That ECCU’s negligent supervision of l\/lichael Boblit and other employees have
created significant harm and injury to HBC.

57. Wherefore the Church is entitled to damages as set forth in the Prayer for Relief.

COUNT IV
DECEPTIVE TRADE PRACTICES
58. Plaintiff`, realleges and incorporates herein by reference the allegations made in
Paragraphs 1 -_ 29.
59. The Illinois Unif`orm Deceptive Trade Practices Act, 815 ILCS 510/2 provides as
follows, in relevant part:
(a) A person engages in a deceptive trade practice when, in the course of his or her
business, vocation, or occupation, the person:
(i) causes likelihood of confusion or of misunderstanding as to the source,

sponsorship, approval, or certification of goods or services;

9

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(ii) causes likelihood of confusion or of misunderstanding as to affiliation,
connection, or association with or certification by another;
(b) disparages the goods, services, or business of another by false or misleading
representation of fact;
(c) advertises goods or services with intent not to sell them as advertised;
(d) engages in any other conduct which similarly creates a likelihood of confusion or
misunderstanding
(e) In order to prevail in an action under this Act, a plaintiff need not prove competition
between parties or actual confusion or misunderstanding
60. ECCU is a “person” for purposes of the Illinois Deceptive Trade Practices Act, 815
ILC S 5 10/2.
61. ECCU issued many written statements by email and otherwise in which such
conduct was directed to mislead and cause HBC to not take advantage of other borrowing
opportunities from other lenders
62. ECCU intentionally mislead and deceived HBC in to believing that it was going to
modify and refinance the loans before the August l, 2018 interest rate adjustment
63. lt now appears that ECCU Was acting in a false and deceptive way in all the
communications to create delay in order for the August l, 2018 deadline to arrive and HBC
is forced to absorb a significantly higher interest rate and loan payment.

64. Wherefore the Church is entitled to damages as set forth in the Prayer for Relief.

COUNT V
C()MMON LAW FRAUD

65. Plaintiff realleges and incorporates herein by reference the allegations made in

Paragraphs 1 - 29.

10

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66. The State of Illinois recognizes the tort of common law fraud when the following
elements are established:

(1) The defendant must make a false statement of material fact to the plaintiff;

(2) the defendant must have made such statement knowing that it was false;

(3) the defendant must have made the statement with the intent that the plaintiff rely
on it;

{4) the plaintiff must have acted in reliance on the statement; and

(5) the plaintiff must have been damaged by his reliance on the statement.

Maluro v. Gemrd, 494 A.2d 1199, 196 Conn. 584, 1985 Conn.

67. ECCU allowed its employees to issue a written loan commitment, emails, written
documents and phone calls that clearly indicated that the loan modifications and refinance
was going to occur. ECCU never intended to honor these commitments of its agents.
HBC relied on these fraudulent statements to its detriment

68. During a phone call on August 6, 2018, ECCU communicated that it was no longer
going to modify and refinance the loans. lt stated the reason for that change was due to a
change in HBC’s financial condition 'l`hese statements by ECCU were false since the
financial statements provided by HBC to ECCU demonstrated no material adverse change
in the financial condition of HBC.

69. Wherefore the Church is entitled to damages as set forth in the Prayer for Relief.

PRAYER FOR RELIEF
WHEREF()RE, Plaintiff, HARVEST BIBLE CHAPEL, respectfully demands the

following relief from the Defendant, EVANGELICAL CHRISTIAN CREDIT UNION.:

11

 

 

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A. With respect to COUNT I, INTENTIONAL INTERFERENCE WITH
PROSPECTIVE ECONOMIC ADVANTAGE:

1) A permanent injunction against ECCU from enforcing its August 1, 2018 interest
rate increase.

2) Specific performance requiring ECCU to finalize the loan modifications and
refinances as it promised

3) ECCU to release the encumbered collateral on loans which are paid off by HBC.

4) Special damages

5) Punitive damages

6) Compensatory damages for the harm and costs HBC has lost as a result of not
refinancing the loans with another lender.

7) Compensatory damages for all harm, costs and fees HBC has paid as a result of the
interference

B) With respect to COUNT II, PROMISSORY ESTOPPEL:

1) A permanent injunction against ECCU from enforcing its August 1, 2018 interest
rate increase

2) Specific performance requiring ECCU to finalize the loan modifications and
refinances as it promised

3) ECCU to release the encumbered collateral on loans which are paid off by HBC.

4) Special damages

5) Punitive damages

6) Compensatory damages for the harm and costs HBC has lost as a result of not
refinancing the loans with another lender.

7) Compensatory damages for all harm, costs and fees HBC has paid as a result of the
promises made by ECCU.

C) With respect to COUNT lll, NEGLIGENT SUPERVISION:

1) A permanent injunction against ECCU from enforcing its August 1, 2018 interest
rate increase

2) Specific performance requiring ECCU to finalize the loan modifications and
refinances as it promised

3) ECCU to release the encumbered collateral on loans which are paid off by HBC.

4) Special damages

5) Punitive damages

6) Compensatory damages for the harm and costs HBC has lost as a result of not
refinancing the loans with another lender.

7) Compensatory damages for all harm, costs and fees HBC has paid as a result of the
ECCU’s negligent supervision

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D) With respect to COUNT IV, DECEPTIVE TRADE PRACTICES:

1) A permanent injunction against ECCU from its August 1, 2018 interest rate increase

2) Specific performance requiring ECCU to finalize the loan modifications and
refinances as it promised.

3) ECCU to release the encumbered collateral on loans which are paid off by HBC.

4) Special damages

5) Punitive damages

6) Compensatory damages for the harm and costs HBC has lost as a result of not
refinancing the loans with another lender.

7) Compensatory damages for all harm, costs and fees HBC has paid as a result of the
deceptive trade practices

E) With respect to COUNT V, COMMON LAW FRAUD:

l) A permanent injunction against ECCU from enforcing its August 1, 2018 interest
rate increase

2) Specific performance requiring ECCU to finalize the loan modifications and
refinances as it promised

3) ECCU to release the encumbered collateral on loans which are paid off by HBC.

4) Special damages

5) Punitive damages

6) Compensatory damages for the harm and costs HBC has lost as a result of not
refinancing the loans with another lender.

7) Compensatory damages for all harm, costs and fees HBC has paid as a result of the
fraud.

Respectfully submitted,

Christopher S, Nudt)/
General Counsel Harvest Bible Chapel

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VERIFICATION

J ames Scott Milholland, being duly sworn, deposedes and says:

I am the Chief Operating Ofiicer of Harvest Bible Chapel, the Plaintiff in the above-entitled
action. I have read the foregoing Complaint and know the contents thereof The same are
true to my knowledge, except as to matters therein stated to be alleged on information and
belief as to those matter, I believe them to be true.

To the best of my knowledge, information and belief, formed after an inquiry reasonable
under the circumstances, the presentation of these papers or the contentions therein are not
frivilous.

 

 

Sworn to before me this 31St day
of August, 2018.

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Notary Public vvvvvvvvv

 

 

 

 

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